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         ADVERSARY PROCEEDING COVER SHEET                                                          ADVERSARY PROCEEDING NUMBER
                                                                                                   (Court Use Only)
                 (Instructions on Reverse)

PLAINTIFFS                                                                             DEFENDANTS
State of Texas                                                                    23andMe Holding, Co., 23andMe, Inc., Lemonaid Health, Inc., 23andMe
                                                                                  Pharmacy Holdings, Inc., LPharm RX LLC, LPharm INS LLC, LPharm CS
                                                                                  LLC, Lemonaid Community Pharmacy, Inc., LPRXOne LLC, LPRXTwo
                                                                                  LLC, LPRXThree LLC, and Lemonaid Pharmacy Holdings Inc.
ATTORNEYS (Firm Name, Address, and Telephone No.)                                  ATTORNEYS (If Known)
Layla D. Milligan, Roma N. Desai                                                   Paul, Weiss, Rifkind, Wharton & Garrison LLP 1285 Avenue of the Americas New York,
                                                                                   NY 10019 Phone: 212.373.3000 Fax: 212.757.3990; Carmody MacDonald P.C. 120 S.
P. O. Box 12548, Austin, Texas 78711-2548                                          Central Ave. Suite 1800 St. Louis, MO 63105 Phone: 314.854.8600 Fax: 314.854.8660
P: (512) 463-2173/F: (512) 936-1409

PARTY (Check One Box Only)                         PARTY (Check One Box Only)
□ Debtor    □ U.S. Trustee/Bankruptcy Admin        □ Debtor      □ U.S. Trustee/Bankruptcy Admin
                                                                                   ✔


□ Creditor  □ Other    ✔                           □ Creditor    □ Other
□ Trustee                                          □ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Complaint seeking Declaratory Judgment regarding the validity and extent of the Debtors'
interest in Texas customers' genetic material and related data pursuant to FRBP 7001(2) & (9),
11 U.S.C. 363, 541, 28 U.S.C. 959(b) and 2201.

                                                                      NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□                                                                                  □
    FRBP 7001(1) – Recovery of Money/Property                                      FRBP 7001(6) – Dischargeability (continued)
    11-Recovery of money/property - §542 turnover of property                         61-Dischargeability - §523(a)(5), domestic support
□   12-Recovery of money/property - §547 preference                                □   68-Dischargeability - §523(a)(6), willful and malicious injury
□   13-Recovery of money/property - §548 fraudulent transfer                       □   63-Dischargeability - §523(a)(8), student loan
□   14-Recovery of money/property - other                                          □   64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                          (other than domestic support)

□
X
    FRBP 7001(2) – Validity, Priority or Extent of Lien
    21-Validity, priority or extent of lien or other interest in property
                                                                                   □   65-Dischargeability - other



                                                                                   □
                                                                                   FRBP 7001(7) – Injunctive Relief

□
    FRBP 7001(3) – Approval of Sale of Property                                       71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)          □    72-Injunctive relief – other


□
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                   □
                                                                                   FRBP 7001(8) Subordination of Claim or Interest
    41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                      81-Subordination of claim or interest


□
    FRBP 7001(5) – Revocation of Confirmation
                                                                                   □
                                                                                   FRBP 7001(9) Declaratory Judgment
    51-Revocation of confirmation                                                   X 91-Declaratory judgment




□
    FRBP 7001(6) – Dischargeability
                                                                                   □
                                                                                   FRBP 7001(10) Determination of Removed Action
    66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
□   62-Dischargeability - §523(a)(2), false pretenses, false representation,
                                                                                      01-Determination of removed claim or cause

        actual fraud
□                                                                                  □
                                                                                   Other
    67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny        SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                       (continued next column)                                     □    02-Other (e.g. other actions that would have been brought in state court
                                                                                            if unrelated to bankruptcy case)
□ Check if this case involves a substantive issue of state law
✔                                                                                  □ Check if this is asserted to be a class action under FRCP 23
□ Check if a jury trial is demanded in complaint                                   Demand $
Other Relief Sought



                                                                                                                   (L.F. 18 Rev. 06/08)
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                    BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                                       BANKRUPTCY CASE NO.
In re 23andMe Holding Co., et al.                    25-40976
DISTRICT IN WHICH CASE IS PENDING                    DIVISION OFFICE     NAME OF JUDGE
Eastern District of Missouri                         Eastern Division    Hon. Brian C. Walsh
                                 RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                  DEFENDANT                     ADVERSARY
                                                                         PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
June 9, 2025                                                          Layla D. Milligan



                                                        INSTRUCTIONS

           The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding Cover
 Sheet. When completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs
 the information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.


                                                                                                 (L.F. 18 Rev. 06/08)
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                             UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

    In re:                                                    §    Chapter 11
                                                              §
    23ANDMEHOLDING CO., et al., 1                             §    Case No. 25-40976
                    Debtors.                                  §
                                                              §    (Jointly Administrated)
                                                              §
    STATE OF TEXAS;                                           §
                                                              §    Hon. Brian C. Walsh
                                Plaintiff,                    §    U.S. Bankruptcy Judge
    v.                                                        §
                                                              §
    23ANDME HOLDING, CO., 23ANDME, INC.,                      §    Adversary No. _____________
    LEMONAID HEALTH, INC., 23ANDME                            §
    PHARMACY HOLDINGS, INC., LPHARM                           §
    RX LLC, LPHARM INS LLC, LPHARM CS                         §
    LLC, LEMONAID COMMUNITY                                   §
    PHARMACY, INC., LPRXONE LLC,                              §
    LPRXTWO LLC, LPRXTHREE LLC, and                           §
    LEMONAID PHARMACY HOLDINGS INC.                           §
                                                              §
                                 Defendants.                  §

         THE STATE OF TEXAS’S COMPLAINT FOR DECLARATORY JUDGMENT

TO THE HONORABLE BRIAN C. WALSH, UNITED STATES BANKRUPTCY JUDGE:

             COMES NOW the State of Texas (“Texas”), by and through the Office of the Texas

Attorney General, and as set forth in more detail below, respectfully files this Complaint for

Declaratory Relief (the “Complaint”) seeking this Court’s determination that Texas residents have

an exclusive property right in, and right to exercise exclusive control over, (1) their biological

sample and (2) genetic data (i.e., the results of genetic testing or analysis conducted on their

DNA). 2 Further, Texas seeks this Court’s determination that Debtors and any purchaser must


1
  A complete list of Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
noticing agent at https://restructuring.ra.kroll.com/23andMe. The Debtors’ service address for purposes of these
chapter 11 cases is: 870 Market Street, Room 415, San Francisco, CA 94102.
2
  Tex. Bus. & Com. Code § 503A.003.
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comply with Texas law related to the sale, transfer, or disclosure of any such biological samples

and genetic data pursuant to the Texas Direct-to-Consumer Genetic Testing Act, 3 and, along with

any other sensitive personally identifiable information and data of Texas residents, the Texas Data

Privacy and Security Act, 4 and the Texas Identify Theft Enforcement and Protection Act. 5 In

support of its Complaint, Texas respectfully states as follows:

                               I.      JURISDICTION AND VENUE

        1.      The United States Bankruptcy Court for the Eastern District of Missouri (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a

core proceeding within the meaning of 28 U.S.C. § 157(b)(1), (b)(2)(A) and (O).

        2.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      Pursuant to Federal Rule of Bankruptcy Procedure (“FRBP”) 7008, Texas consents

to the entry of a final order by the Court in connection with this adversary proceeding.

                                     II.     BASIS FOR RELIEF

        4.      Texas has commenced this adversary proceeding pursuant to FRBP 7001(2), (7),

and (9), seeking declaratory judgment under 28 U.S.C. §§ 959(b) and 2201 regarding the validity

and extent of the Debtors’ interest in Texas customers’ genetic material and related data as well as

other sensitive personally identifiable information, including whether the Debtors have the right

to sell, transfer, or disclose the genetic material and data, and other sensitive personally identifiable

information, to any buyer without first obtaining informed and affirmative separate express

consent from each Texas customer pursuant to Texas law.




3
  Codified primarily in Texas Business & Commerce Code § 503A.001 et seq.
4
  Codified primarily in Texas Business & Commerce Code § 541.001 et seq.
5
  Codified primarily in Texas Business & Commerce Code § 521.001 et seq.
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                                                III.     PARTIES

        5.       The Plaintiff is the State of Texas, acting pursuant to statutory authority to enforce

Texas’s data privacy and consumer protection laws on behalf of its citizens. 6

        6.       The Defendants are 23andMe Holding, Co., 23andMe, Inc., Lemonaid Health, Inc.,

23andMe Pharmacy Holdings, Inc., LPharm RX LLC, LPharm INS LLC, LPharm CS LLC,

Lemonaid Community Pharmacy, Inc., LPRXOne LLC, LPRXTwo LLC, LPRXThree LLC, and

Lemonaid Pharmacy Holdings Inc. (together “Debtors,” “Defendants” or “23andMe”). Defendants

are the Debtors in Possession in the above-captioned bankruptcy case, and are in possession of and

are seeking to sell, transfer, or disclose the genetic material and related data, including other

sensitive personally identifiable information, of Texas citizens to third parties in the underlying

bankruptcy case. 7

                                          IV.          BACKGROUND

    A. General Facts

        7.       Founded in 2006, 23andMe provides genetic testing directly to consumers, which

includes collection of a consumer’s biological sample, conducting DNA genotyping, and providing

“personalized genetic reports on everything from ancestry composition to traits to genetic health

risks.” 8 23andMe also provides Exome Sequencing to “detect 50,000+ hereditary disease-causing

variants.” 9 As a result of its products and services, according to the Debtors, the company has

amassed data from over fifteen (15) million customers. 10

        8.       In October 2023, 23andMe suffered a data breach which, they believe, impacted


6
  See Tex. Bus. & Com Code §§ 503A.008, 541.151, 521.151-.152, 17.46, and 17.47.
7
  All references herein to the “docket,” “Dkt. No.” or “pleadings filed” relate to documents filed in the underlying
bankruptcy case, case no. 25-40976.
8
  See Dkt. No. 32, First Day Declaration, ¶¶ 19, 27; 23andMe, Frequently asked questions, https://www.23andme.com
(last visited April 2, 2025).
9
  See 23andMe, Frequently asked questions.
10
   See Dkt. No. 32, First Day Declaration, ¶ 19.
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approximately seven (7) million consumers, thus prompting various federal, state, and

international investigations, including an investigation by Texas into the company’s state law

violations. 11

         9.       On March 23, 2025, 23andMe Holding Co., along with eleven (11) affiliated

debtors, filed a voluntary petition for relief under chapter 11 of the U.S. Bankruptcy Code, case

no. 25-40976, pending before the U.S. Bankruptcy Court, Eastern Division of Missouri.

         10.      Since the filing of the underlying bankruptcy case, Debtors have repeatedly assured

Texas consumers, along with consumers across the United States, that the data in Debtors’

possession can be and would be deleted upon request of the consumers. Despite these assurances,

Texas has received complaints regarding the inability of consumers to delete their data, and, to

date, Texas has been unable to confirm that information has been deleted.

         11.      On March 28, 2025, an Order (I) Approving Bidding Procedures for the Sale of the

Debtors Assets, (II) Scheduling Certain Dates and Deadlines with Respect Thereto, (III)

Approving the Form and Manner of the Notice Thereof, (IV) Approving Procedures Regarding

Entry Into Stalking Horse Agreement(s), if any, (V) Establishing Notice and Procedures for the

Assumption and Assignment of Contracts and Leases, (VI) Approving Procedures for the Sale,

Transfer, or Abandonment of De Minimus Assets, and (VII) Granting Related Relief 12 was entered

by the Court.

         12.      A Notice of Successful and Backup Bidders with Respect to the Auction of

Debtors’ Assets was filed on May 19, 2025, indicating bids by two third parties. 13

         13.      A hearing to approve the sale of the Debtors’ assets, including genetic data,



11
   See Dkt. No. 32, First Day Declaration, ¶¶ 6, 64.
12
   Dkt. No. 125.
13
   Dkt. No. 420.
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material, information, and personally identifiable information, is scheduled to take place on June

17, 2025, at 9:00 a.m. (CST).

     B. The Personal Data Subject to Sale

        14.        23andMe collects and maintains a significant amount of sensitive personal

information about Texas consumers, including, but not limited to:

              a.   “Profile Data” from consumers, including their name, date of birth, birth sex,

                   current gender, relationship labels (whether they identify themselves as male or

                   female), and contact information. 14

              b.   “Family Tree Data,” obtained by asking users to input information about their

                   relatives, who may or may not be 23andMe users. 15

              c.   “Phenotype Data” – each individual customer’s personal data and health

                   information as collected through initial and supplemental surveys, research

                   participation, and uploaded medical records. 16 Phenotype data represents the

                   observable characteristics of an individual – the physical expression of that

                   individual’s genes (their genotype).

        15.        Importantly, 23andMe collects and analyzes biological samples from consumers

and sequences their genome for the consumer, creating “Genetic Data.” 17 This data, consisting of

a human’s raw genetic code, is then kept as a .csv file linked to the user’s profile. 23andMe has

collected Genetic Data from more than 15 million people. 18 23andMe analyzes this raw genetic

information to provide insights about an individual’s ancestry, including the likely regions of



14
   See https://customercare.23andme.com/hc/en-us/articles/360004944654-What-s-In-Your-Account-Settings
15
   See https://customercare.23andme.com/hc/en-us/articles/360036068393-The-23andMe-Family-Tree-Feature
16
   See https://customercare.23andme.com/hc/en-us/articles/212873367-Updating-Your-Personal-Information-with-
23andMe-Name-Sex-Date-of-Birth
17
   Dkt. No. 32 at paras. 26-32.
18
   Dkt. No. 32 at paras. 2-3, 19.
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origin of their forebears. 19 23andMe also analyzes their customers’ genomes to determine the

presence of genetic risk factors for diseases.

         16.      23andMe holds—and is proposing to sell to a third-party—an unprecedented

compilation of highly sensitive and immutable personal data: a human being’s immutable genetic

identity (their genome). Each individual’s information is conjoined with their phenotype data (how

their genome has manifested itself physically/mentally) and other sensitive personal information,

including the individual’s family tree and contact information.

         17.      Virtually all of this personal information is immutable. If stolen or misused, it

cannot be changed or replaced. Furthermore, this data is exclusively personal and unique,

representing that customer’s identity and not the identity of any other human being.

         18.      In addition, this exclusively personal data also carries with it significant, sensitive

information about others who share DNA and/or familial relationships. For example, this data can

be used to identify and track those who are related to the 23andMe consumer—including deceased

ancestors and future generations yet unborn. In other words, the magnitude of the data in this

proposed sale stretches far beyond the 23andMe consumers, impacting those who have no

awareness of the sale as well as humans who no longer exist and do not exist yet.

     C. Applicable Bankruptcy Laws

         19.      Under applicable bankruptcy law, it is a “fundamental bankruptcy principle that the

estate succeeds to whatever property the debtor possessed outside of bankruptcy[,]” 20 and while

federal bankruptcy law defines what is property of the bankruptcy estate, it is state law that defines

the extent of the estate’s interest in the property. 21


19
   Dkt. No. 32 at para. 26, 28. 31.
20
   Integrated Sols., Inc. v. Serv. Support Specialties, Inc., 193 B.R. 722, 729 (D.N.J. 1996), aff'd, 124 F.3d 487 (3d
Cir. 1997)
21
   See Stellwagen v. Clum, 245 U.S. 605, 613 (1918); Butner v. United States, 440 U.S. 48, 54 (1979).
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           20.      Property of the estate is defined as the debtor’s legal or equitable interest in property

at the commencement of the estate. “To the extent an interest is limited in the hands of a debtor, it

is equally limited as property of the estate.” 22

           21.      Section 541(c)(1) of Title 11 does not change this fundamental principle. Section

541(c)(1) “governs what is property of the estate; it does not address what a [debtor] is allowed to

do with that property.” 23 In other words, any limitations on transfer of property prepetition remain

intact once the bankruptcy is filed.

           22.      Likewise, as recognized by the Eighth Circuit, 11 U.S.C. § 363 does not expand

23andMe’s interest in property. Section 363(b)(1) is an enabling statute that gives debtors “the

authority to sell or dispose of property if the debtors would have had the same right under state

law.” 24 Section 363(f)(1) only allows the sale of property if nonbankruptcy law would permit the

sale. 25

           23.      Finally, 28 U.S.C. § 959(b) requires that debtors operate in accordance with state

law, including the statutory and common law rights of consumers.

     D. Applicable Texas Laws

                 a. Texas Direct-to-Consumer Genetic Testing Act

           24.      As a company offering genetic testing products or services directly to consumers

in the State of Texas, 23andMe and any buyer(s) of the company’s genetic testing line, genetic

data, and/or biological samples (the “Sale Parties”) are required to comply with the Texas Direct-

to-Consumer Genetic Testing Act (the “DTC Genetic Testing Act”). 26 The Texas Legislature


22
   In re Sanders, 969 F.2d 591, 593 (7th Cir. 1992) (citing In re Balay, 113 B.R. 429, 445 (Bankr. N.D. Ill. 1990)
(quoting 4 Collier on Bankruptcy P 541.06 (15th ed. 1989)).
23
   In re Paul, 355 B.R. 64, 67 (Bankr. N.D. IL 2001); see In re Crossman, 259 B.R. 301 (Bankr. N.D. Ill. 2001).
24
   In re Schauer, 835 F.2d 1222, 1225 (8th Cir. 1987); see In re Paul, 355 B.R. 64, 68 (Bankr. N.D. Ill. 2001).
25
   11 U.S.C. § 363(f).
26
   Codified primarily in Texas Business & Commerce Code § 503A.001 et seq.
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passed the DTC Genetic Testing Act to provide Texans with genetic data privacy protections

because “private genetic testing companies such as Ancestry and 23andMe fall in a regulatory gray

area.” 27 This law “reaffirm[s] that [Texans] are [to] always [be] informed and have complete

control of when and how their genetic data will be shared . . . .” 28

         25.      Under the DTC Genetic Testing Act, individual Texas residents have an exclusive

property right in, and right to exercise exclusive control over (1) their biological sample and (2)

genetic data (i.e., the results of genetic testing or analysis conducted on their DNA), “including

the collection, use, retention, maintenance, disclosure, or destruction of the sample or results.”29

The Sale Parties must “provide a process for an individual to access their genetic data, delete their

account and/or genetic data, and destroy or require the destruction of their biological sample,” and

“develop, implement, and maintain a comprehensive security program to protect an individual’s

genetic data against unauthorized access, use, or disclosure.” 30 Other requirements include

providing public notice of basic information about the company’s collection, use, or disclosure of

genetic data. 31 The Sale Parties are also prohibited from disclosing an individual’s genetic data to

an entity that offers health insurance, life insurance, or long-term care insurance or an individual’s

employer absent written consent. 32


27
   S. Comm. on Bus & Com., Bill Analysis, Tex. H.B. 2545, 88th Leg., R.S. (2023).
28
   Id.
29
   See id. §§ 503A.003 (“Biological sample means a material part of the human body, or a discharge or
derivative part of the body, including tissue, blood, urine, or saliva that is known to contain DNA.”
Id.§ 503A.001(1). “Genetic data means any data, regardless of format, concerning an individual’s genetic
characteristics. The term includes: (i) raw sequence data derived from sequencing all or a portion of an
individual’s extracted DNA; (ii) genotypic and phenotypic information obtained from analyzing an
individual’s raw sequence data; and (iii) health information regarding the health conditions that an individual
self-reports to a company and that the company (a) uses for scientific research or product development; (b)
analyzes in connection with the individual’s raw sequence data; and (c) does not include deidentified data.”
Id. § 503A.001(6). “Deidentified data means data not reasonably linked to and that cannot reasonably be
used to infer information about an identifiable individual.” Id. § 503A.001(2). “DNA means
deoxyribonucleic acid.” Id. § 503A.001(4).
30
   Id. § 503A.005(a)(1), (c).
31
   Id. § 503A.005(a)(2), (b).
32
   Id. § 503A.007(b).
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        26.      The DTC Genetic Testing Act also requires that 23andMe obtain an individual’s

separate express consent to: (a) transfer or disclose the individual’s genetic data to any person

other than the company’s vendors and service providers; (b) use genetic data for a purpose other

than the primary purpose of the company’s genetic testing product or service; or (c) retain the

biological sample following completion of the initial testing service. 33 Specifically, 23andMe

must obtain a separate “affirmative response to a clear and meaningful notice regarding the

collection, use, or disclosure of genetic data for a specific purpose.” 34

        27.      The consumer’s click-through acceptance of 23andMe’s Terms of Service and

Privacy Statement upon signing up for services does not meet the separate express consent

requirement as defined by the DTC Genetic Testing Act. 23andMe may not transfer or disclose

Texans’ genetic data and biological samples or deprive Texans of their property rights and rights

to exercise exclusive control without their separate express consent.

              b. Texas Data Privacy and Security Act.

        28.      23andMe and the Sale Parties are also subject to the Texas Data Privacy and

Security Act (the “TDPSA”), which regulates the collection, use, processing, and treatment of

consumers’ personal data and provides consumers with certain rights regarding their data. 35

Companies subject to the TDPSA are required to establish, implement, and maintain reasonable

administrative, technical, and physical data security practices to protect the confidentiality,

integrity, and accessibility of personal data. 36 Personal data includes sensitive data such as genetic

data, personal data revealing racial or ethnic origin, mental or physical health diagnosis, and




33
   Id. § 503A.006(a)(1).
34
   Id. § 503A.001(5) (defining “express consent”).
35
   Codified primarily in Texas Business & Commerce Code § 541.001 et seq.
36
   Id. § 541.101(a)(2).
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personal data collected from a known child. 37

         29.      Subject companies may not process the sensitive data of a consumer without

obtaining the consumer’s consent. 38 “Process” or “Processing” includes the disclosure of sensitive

data such as a Texan’s genetic data and health diagnosis. 39 Consent under the TDPSA “means a

clear affirmative act signifying a consumer’s freely given, specific, informed, and unambiguous

agreement to process personal data relating to the consumer.” 40 A consumer’s consent is not

obtained through the “acceptance of a general or broad terms of use or similar document that

contains descriptions of personal data processing along with other, unrelated information; hovering

over, muting, pausing, or closing a given piece of content; or agreement obtained through the use

of dark patterns.” 41

         30.      The click-through acceptance of 23andMe’s Terms of Service and Privacy

Statement does not meet the consent requirement as defined under the TDPSA. 23andMe does not

have the requisite consent of Texans to disclose their sensitive data, including genetic data and

medical information, to a third-party buyer. 23andMe must obtain informed consent from the

Texas consumers before disclosing their sensitive data to a third-party buyer under the proposed

bankruptcy sale.

               c. Texas Identity Theft Enforcement and Protection Act

         31.      23andMe and the Sale Parties are also subject to the Texas Identity Theft

Enforcement and Protection Act (“ITEPA”). 42                  ITEPA creates legal protections for certain

information and data breach notification and reporting requirements.



37
   Id. § 541.001(19), (29).
38
   Id. § 541.101(b)(4).
39
   Id. § 541.001(22) (defining “process” to include disclosure) and id. § 541.001(29) (defining “sensitive data”).
40
   Id. § 541.001(6).
41
   Id.
42
   Codified primarily in Texas Business & Commerce Code § 521.001 et seq.
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         32.      Companies that collect or maintain “Sensitive Personal Information” have a

business duty to implement and maintain reasonable safeguards to protect it from unlawful use or

disclosure. 43 The genetic data and health information the Debtors possess is Sensitive Personal

Information, and ITEPA requires the Debtors and any purchaser to comply with the business duty

to protect this data. 44

         33.      In the event of a data breach, ITEPA requires companies to timely notify affected

consumers and, if involving 250 or more Texas residents, to report the breach to the Office of the

Texas Attorney General. 45 23andMe and any potential purchaser must also comply with these

requirements and have in place an appropriate Data Breach Response and Notification Plan in the

event of the unlawful disclosure of the genetic data such as the data breach the Debtors’

encountered in October 2023.

         34.      Any sell, transfer, or disclosure of Sensitive Personal Information in this

bankruptcy case must have reasonable technical, physical, and administrative safeguards to protect

it from unlawful use or disclosure.

         35.      As indicated herein, Texas law grants Texas citizens a property interest in their

genetic data and material. 46 Texas law places specific limitations and restrictions on the Debtors’

right to sell, transfer, or disclose its customer’s sensitive personal and genetic data, including

requirements regarding the consumer’s informed and separate express consent. These laws apply

to property of the bankruptcy estate, specifically property subject to sale in the pending underlying

bankruptcy case.

         36.      Accordingly, Texas brings this Complaint seeking a declaratory judgment to


43
   Id. § 521.052(a).
44
   See id. § 521.002(a)(2)(B)(i) (defining “Sensitive Personal Information”).
45
   Id. § 521.053.
46
   Id. § 503A.003.
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determine whether and to what extent 23andMe has the right to sell, transfer, and disclose genetic

and sensitive personally identifiable information in its possession to a third party purchaser without

first obtaining the informed and separate express consent of the owners of that property—its Texas

customers.

                           V.      COUNT I (Declaratory Judgment):

          37.   Texas incorporates by reference all preceding paragraphs, as if specifically asserted

herein.

          38.   Texas requests that, pursuant to FRBP 7001(2) & (9) and 28 U.S.C. §§ 959(b) and

2201, the Court determine the validity and extent of 23andMe’s interest in each Texas consumers’

genetic material and related data, as well as sensitive personally identifiable information, including

by determining and declaring judgment as follows:

                A.     Texas consumers have an inherent property right of ownership and control

                       in (a) their biological sample (i.e., tissue, blood, urine, or saliva that is

                       known to contain DNA) and (b) their Genetic Data (i.e., the results of

                       genetic testing or analysis conducted on the individual’s DNA), including

                       the collection, use, retention, maintenance, disclosure, or destruction of the

                       sample or results;

                B.     23andMe lacks sufficient ownership interest in and right to control and sell,

                       transfer, or disclose a Texas consumer’s biological sample and their Genetic

                       Data to a third party absent the consumer’s informed and affirmative

                       separate express consent to the proposed sale, transfer, or disclosure based

                       on consumer’s inherent right of ownership and control in their biological

                       material and Genetic Data;


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                    C.        23andMe is required to obtain a Texas consumer’s informed consent to

                              process or disclose sensitive data as defined by the TDPSA;

                    D.        A Texas consumer’s general acceptance of 23andMe’s Terms of Service

                              and Privacy Statement does not meet the standard of separate express

                              consent under the DTC Genetic Testing Act that defines such consent as a

                              separate “affirmative response to a clear and meaningful notice regarding

                              the collection, use, or disclosure of genetic data for a specific purpose;” 47

                    E.        A Texas consumer’s general acceptance of 23andMe’s Terms of Service

                              and Privacy Statement does not meet the TDPSA’s consent standard which

                              excludes “acceptance of a general or broad terms of use or similar document

                              that contains descriptions of personal data processing along with other,

                              unrelated information” from the definition of consent under the TDPSA; 48

                    F.        23andMe shall not sell, transfer, or disclose genetic data, biological

                              samples, or sensitive data without first obtaining the informed and

                              affirmative separate express consent from Texas consumers.

                    G.        23andMe has no property interest, and cannot sell, transfer, or disclose, any

                              genetic data or sensitive personally identifiable information or data that

                              Texas consumers have requested to be deleted.

                    H.        23andMe has no property interest, and cannot sell, transfer, or disclose any

                              biological samples or materials that Texas consumers have requested to be

                              destroyed.




47
     Id. § 503A.001(5).
48
     Id. § 541.001(6)(A).
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                              VI.     RESERVATION OF RIGHTS

        Texas reserves the right to assert any alternative causes of action, to amend this Complaint,

and to pursue any additional claims.

                                          VII.    PRAYER

        WHEREFORE, Texas respectfully requests that the Court (a) enter a declaratory judgment

as to the issues set forth in Count I above prior to any sale; (b) and enter any further relief to which

the Court finds is just.



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Dated: June 9, 2025,                    Respectfully Submitted,

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